JS 44 (Rev. 04/21)                    Case 2:23-cv-04236 Document
                                                      CIVIL COVER 1 SHEET
                                                                    Filed 11/01/23 Page 1 of 18
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
                                                                                                         PENNSYLVANIA REAL ESTATE INVESTMENT TRUST;
         JUDITH QUANT
                                                                                                         BOSCOVS DEPARTMENT STROE, LLC, ET AL
   (b) County of Residence of First Listed Plaintiff             Southampton, NJ                         County of Residence of First Listed Defendant Philadelphia
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Prince P. Holloway, Esq; Stampone O'Brien Dilsheimer                                            D.J. Dawson, Esq. for Def Pennsylvania Real Estate
         Law; 500 Cottman Ave, Phila., PA; 215-663-9112                                                  Investment Trust; 436 Walnut St, Phila PA; 215-845-6166
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                     of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane               ✖ 365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability               367 Health Care/                                                       INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                  820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                       New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                        840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                 710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending                Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability        380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                             or Defendant)                 896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                          871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                   IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                          462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                    Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S. Code 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       Personal injury cause of action. Plaintiff resident of NJ. Defendant in Commonwealth of PA
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               150,000.00                                  JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE
                                                                        NATURE OF ATTORNEY
                                                                                  ATTORN   OF RECORD
Oct 31, 2023
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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05/2023                             Case 2:23-cv-04236 Document 1 Filed 11/01/23 Page 3 of 18
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)


    Address of Plaintiff: 186 Dorchester Drive, Southampton, NJ 08088
                          2005 Market Street, Phila., PA 19103
    Address of Defendant:_______________________________________________________________________________________
                                                 Moorestown, Burlington County, New Jersey
    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
      Case Number:______________________ Judge:________________________________ Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year                                   Yes             No
                 previously terminated action in this court?
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
                 Pending or within one year previously terminated action in this court?                                                             Yes             No
           3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
                 Numbered case pending or within one year previously terminated action of this court?                                               Yes             No
           4.    Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                 by the same individual?                                                                                                            Yes             No
      I certify that, to my knowledge, the within case                 is /      is not related to any now pending or within one year previously terminated
      action in this court except as note above.
      DATE: 10/31/23                           ____________________________________
                                                     _________________
                                                      _                                                                        ________________________________
                                                                                                                                   322235

                                                        torney at Law (Must sign
                                                      Attorney-at-Law       si above)                                               Attorney I.D. # (if applicable)



      &LYLO 3ODFHD¥LQRQHFDWHJRU\RQO\

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                                                                                                                                       slip/fall
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                               _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. All Other Federal Question Cases. (Please specify):_____________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                          Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:

                          Relief other than monetary damages is sought.


      DATE: ____________________________                              ______________________________________                            __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JUDITH QUANT                                              CIVIL ACTION

                      Plaintiff
                                                          NO.
v.

PENNSYLVANIA REAL ESTATE INVESTMENT
TRUST, BOSCO9 S DEPARTMENT STORE,
LLC,and BOSCOV'S DEPARTMENT STORE

                      Defendants


                                     NOTICE OF REMOVAL

       AND NOW, comes Defendant Pennsylvania Real Estate Investment Trust, for the

purpose only of removing the cause to the United States District Court for the Eastern District of

Pennsylvania and respectfully avers as follows:

       1.      This is a civil action filed and now pending in the Court of Common Pleas of

Philadelphia County, Pennsylvania, at September Term, 2023, No. 03240.

       2.      The action was instituted by Plaintiff by filing a Complaint on September 29,

2023. Thereafter, a copy of the Complaint was received by Defendant on October 12, 2023,

service being by personal service.

       3.      A copy of the Complaint is attached hereto and marked Exhibit “A”. No other

process, pleadings, or Orders have been served upon Defendant.

       4.      The amount in controversy with respect to the claim of each Plaintiff exceeds the

sum of One Hundred Fifty Thousand Dollars ($150,000.00), exclusive of interest and costs.

       5.      The averments made in this Notice of Removal are true and correct with respect

to the date upon which suit was commenced and the date upon which this Notice is being filed.
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       6.       This is a suit of a civil nature and involves a controversy between citizens of

different states. Plaintiff is a citizen of the State of New Jersey. Defendant, Pennsylvania Real

Estate Investment Trust is a corporation, organized under the laws of the Commonwealth of

Pennsylvania with its principal place of business at 2005 Market Street, Philadelphia, PA 19103.

       7.       Defendant, Pennsylvania Real Estate Investment Trust has simultaneously, with

the filing of this Notice, given written notice to Plaintiff’s Counsel of record via email.

       8.       Defendant, Pennsylvania Real Estate Investment Trust also is filing a copy of the

instant Notice of Removal and all attachments hereto with the Prothonotary of the Court of

Common Pleas of Philadelphia County.

       WHEREFORE, Defendant Pennsylvania Real Estate Investment Trust hereby removes

this suit to this Honorable Court, pursuant to the laws of the United States in such cases made

and provided.



                                               Respectfully submitted,

DATED: October 31, 2023                        BUNKER & RAY
                                               BY: D.J. DAWSON




                                               Bar No. 322235
                                               436 Walnut Street, WA01A
                                               Philadelphia, Pennsylvania 19106
                                               (215) 845-6150 (Tel); (215) 569-0284 (Fax)
                                               dj.dawson@bunkerray.com
                                               Attorneys for Defendant Pennsylvania Real Estate
                                               Investment Trust
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                      IN THE UNITED STATES DISTRICT COURT
                       ($67(51 DISTRICT OF PENNSYLVANIA


JUDITH QUANT                                              CIVIL ACTION

                      Plaintiff
                                                          NO.
v.

PENNSYLVANIA REAL ESTATE INVESTMENT
TRUST, BO6CO9'S DEPARTMENT STORE,
LLC,and BOSCOV'S DEPARTMENT STORE

                      Defendants



                              CERTIFICATION OF SERVICE

       I, D.J. DAWSON, attorney for Defendant Pennsylvania Real Estate Investment Trust,

hereby certify that I caused a copy of the Notice of Removal to be filed electronically on October

31, 2023. This document is now available for viewing and downloading from the ECF system

by counsel named below:

Prince P. Holloway, Esquire
Stampone O'Brien Dilsheimer Law
500 Cottman Avenue
Cheltenham, PA 19012
                                             BUNKER & RAY
                                             BY: D.J. DAWSON




                                             Bar No. 322235
                                             436 Walnut Street, WA01A
                                             Philadelphia, Pennsylvania 19106
                                             (215) 845-6150 (Tel); (215) 569-0284 (Fax)
                                             dj.dawson@bunkerray.com
                                             Attorneys for Defendant Pennsylvania Real Estate
                                             Investment Trust
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                  EXHIBIT A
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                  EXHIBIT B
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                                       BUNKER & RAY
                                         ATTORNEYS AT LAW

      ALLEN R. BUNKER                    436 WALNUT STREET, WA01A                    JOSEPH P. BATASTINI
         (215) 845-6151                    PHILADELPHIA, PA 19106                        (215) 845-6172
        GREG A. RAY                             (215) 845-6150                           D.J. DAWSON
         (215) 845-6152                       FAX (215) 569-0284                         (215) 845-6166
       MAY MON POST                                                                   ELIZABETH R. HALL
         (215) 845-6154                      PITTSBURGH OFFICE++                         (215) 845-6180
   MARIE SARKEES BARBICH                 120 FIFTH AVENUE, SUITE 2201                ALSO ADMITTED IN NJ
          (215) 845-6155                     PITTSBURGH, PA 15222                    MICHAEL R. HARDING
      DAVID A. YOUNG++                           (412) 456-8005                          (215) 845-6179
         (412) 456-8062                                                              ALSO ADMITTED IN NJ
    ALSO ADMITTED IN WV                     WWW.BUNKERRAY.COM                          BRUCE A. OWENS
++REPLY TO PITTSBURGH OFFICE       NOT A PARTNERSHIP OR PROFESSIONAL                     (215) 845-6019
       JASON A. PLAZA                            CORPORATION
         (215) 845-6167           Employees of ACE American Insurance Company, a         OF COUNSEL:
                                                 Chubb Company                           CAREN LITVIN
                                                                                    BRENDAN D. HENNESSY
                                                                                   WILLIAM J. GAGLIARDINO++

                                               October 31, 2023
  VIA EMAIL
  Prince P. Holloway, Esquire
  Stampone O'Brien Dilsheimer Law
  500 Cottman Avenue
  Cheltenham, PA 19012

          Re:      Quant, Judith v. Pennsylvania Real Estate Investment Trust, et al.
                   Our File Number: PA0-320129 - DJD

  Dear Mr. Holloway:

           Enclosed please find a Notice to Plaintiff advising that a Notice of Removal has been
  filed in the United States District Court for the Eastern District of Pennsylvania.

          Thank you for your attention to this matter.

                                                      Very truly yours,
                                                      BUNKER & RAY



                                                      D.J. DAWSON
  DJD:smo
  Encl.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JUDITH QUANT                                               CIVIL ACTION
                       Plaintiff
v.
                                                           NO.
PENNSYLVANIA REAL ESTATE INVESTMENT
TRUST, BOSC2V'S DEPARTMENT STORE,
LLC,and BOSCOV'S DEPARTMENT STORE

                       Defendants


                                    NOTICE TO PLAINTIFF

 TO:      JUDITH QUANT

          c/o:      Prince P. Holloway, Esquire
                    Stampone O'Brien Dilsheimer Law
                    500 Cottman Avenue
                    Cheltenham, PA 19012


       Defendant Pennsylvania Real Estate Investment Trust, by and through its counsel,

has/have filed a Notice of Removal in the United States District Court for the First District of

Pennsylvania, removing to that Court a civil action previously pending in the Court of Common

Pleas of Philadelphia County, entitled Quant, Judith v. Pennsylvania Real Estate Investment

Trust, et al., September Term, 2023, No. 03240.

DATED: October 31, 2023                       BUNKER & RAY
                                              BY: D.J. DAWSON




                                              Bar No. 322235
                                              436 Walnut Street, WA01A
                                              Philadelphia, Pennsylvania 19106
                                              (215) 845-6150 (Tel); (215)569-0284 (Fax)
                                              dj.dawson@bunkerray.com
                                              Attorneys for Defendant Pennsylvania Real Estate
                                              Investment Trust
